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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF OREGON


RONALD MELTON M., JR.,1                          6:19-cv-01350-BR

              Plaintiff,                         OPINION AND ORDER

v.

COMMISSIONER OF SOCIAL
SECURITY,

              Defendant.


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     1  In the interest of privacy this Court uses only the first
name and the initial of the last name of the nongovernmental
party in this case. Where applicable, this Court uses the same
designation for the nongovernmental party's immediate family
member.


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BROWN, Senior Judge.

     Plaintiff Ronald Melton M., Jr., seeks judicial review of

the final decision of the Commissioner of the Social Security

Administration (SSA) in which the Commissioner denied

Plaintiff's application for Disability Insurance Benefits (DIB)

under Title II of the Social Security Act.         This Court has

jurisdiction to review the Commissioner's final decision

pursuant to 42 U.S.C. § 405(g).

     For the reasons that follow, the Court AFFIRMS the decision

of the Commissioner and DISMISSES this matter.



                        ADMINISTRATIVE HISTORY

     On June 12, 2015, Plaintiff protectively filed his




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application for DIB benefits.          Tr. 16, 178.2      Plaintiff alleges a

disability onset date of December 1, 2013.             Tr. 16, 178.

Plaintiff=s application was denied initially and on

reconsideration.       An Administrative Law Judge (ALJ) held a

hearing on April 25, 2018.         Tr. 16, 31-58.      Plaintiff and a

vocational expert (VE) testified at the hearing.                Plaintiff was

represented by an attorney at the hearing.

     On May 22, 2018, the ALJ issued an opinion in which he

found Plaintiff is not disabled and, therefore, is not entitled

to benefits.      Tr. 16-26.     Plaintiff requested review by the

Appeals Council.       On June 19, 2019, the Appeals Council denied

Plaintiff's request to review the ALJ's decision, and the ALJ's

decision became the final decision of the Commissioner.

Tr. 1-3.     See Sims v. Apfel, 530 U.S. 103, 106-07 (2000).

     On August 23, 2019, Plaintiff filed a Complaint in this

Court seeking review of the Commissioner's decision.




     2 Citations to the official Transcript of Record (#12)
filed by the Commissioner on March 19, 2020, are referred to as
"Tr."


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                               BACKGROUND

     Plaintiff was born on December 12, 1961.            Tr. 25, 178.

Plaintiff was 55 years old on his date last insured (DLI) of

September 30, 2017.    Tr. 25.    Plaintiff received a general

education diploma (GED).     Tr. 25, 35.       Plaintiff has past

relevant work experience as a flagger, sheet-rock installer,

commercial cleaner, building-maintenance repairman, and janitor.

Tr. 24-25, 46-50.

     Plaintiff alleges disability due to degenerative disc

disease, spondylosis, chronic migraines, lower-back pain,

diabetes with neuropathy, depression, claustrophobia, and

swollen heels.   Tr. 34, 59-60.

     Except as noted, Plaintiff does not challenge the ALJ's

summary of the medical evidence.       After carefully reviewing the

medical records, this Court adopts the ALJ's summary of the

medical evidence.     See Tr. 18-24.



                                 STANDARDS

     The initial burden of proof rests on the claimant to

establish disability.     Molina v. Astrue, 674 F.3d 1104, 1110

(9th Cir. 2012).    To meet this burden a claimant must



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demonstrate his inability "to engage in any substantial gainful

activity by reason of any medically determinable physical or

mental impairment which . . . has lasted or can be expected to

last for a continuous period of not less than 12 months."                42

U.S.C. § 423(d)(1)(A).       The ALJ must develop the record when

there is ambiguous evidence or when the record is inadequate to

allow for proper evaluation of the evidence.            McLeod v. Astrue,

640 F.3d 881, 885 (9th Cir. 2011)(quoting Mayes v. Massanari,

276 F.3d 453, 459B60 (9th Cir. 2001)).

     The district court must affirm the Commissioner's decision

if it is based on proper legal standards and the findings are

supported by substantial evidence in the record as a whole.                  42

U.S.C. § 405(g).    See also Brewes v. Comm'r of Soc. Sec. Admin.,

682 F.3d 1157, 1161 (9th Cir. 2012).         Substantial evidence is

"relevant evidence that a reasonable mind might accept as

adequate to support a conclusion."          Molina, 674 F.3d. at 1110-11

(quoting Valentine v. Comm'r Soc. Sec. Admin., 574 F.3d 685, 690

(9th Cir. 2009)).   "It is more than a mere scintilla [of

evidence] but less than a preponderance."           Id. (citing

Valentine, 574 F.3d at 690).

     The ALJ is responsible for evaluating a claimant's



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testimony, resolving conflicts in the medical evidence, and

resolving ambiguities.       Vasquez v. Astrue, 572 F.3d 586, 591

(9th Cir. 2009).    The court must weigh all of the evidence

whether it supports or detracts from the Commissioner's

decision.     Ryan v. Comm'r of Soc. Sec., 528 F.3d 1194, 1198 (9th

Cir. 2008).     Even when the evidence is susceptible to more than

one rational interpretation, the court must uphold the

Commissioner's findings if they are supported by inferences

reasonably drawn from the record.       Ludwig v. Astrue, 681 F.3d

1047, 1051 (9th Cir. 2012).      The court may not substitute its

judgment for that of the Commissioner.         Widmark v. Barnhart, 454

F.3d 1063, 1070 (9th Cir. 2006).



                          DISABILITY ANALYSIS

I.   The Regulatory Sequential Evaluation

     At Step One the claimant is not disabled if the

Commissioner determines the claimant is engaged in substantial

gainful activity (SGA).       20 C.F.R. § 404.1520(a)(4)(i).          See

also Keyser v. Comm'r of Soc. Sec., 648 F.3d 721, 724 (9th Cir.

2011).

     At Step Two the claimant is not disabled if the



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Commissioner determines the claimant does not have any medically

severe impairment or combination of impairments.               20 C.F.R.

§ 404.1509, 404.1520(a)(4)(ii).         See also Keyser, 648 F.3d at

724.

       At Step Three the claimant is disabled if the Commissioner

determines the claimant's impairments meet or equal one of the

listed impairments that the Commissioner acknowledges are so

severe as to preclude substantial gainful activity.                20 C.F.R.

§ 404.1520(a)(4)(iii).         See also Keyser, 648 F.3d at 724.           The

criteria for the listed impairments, known as Listings, are

enumerated in 20 C.F.R. part 404, subpart P, appendix 1 (Listed

Impairments).

       If the Commissioner proceeds beyond Step Three, he must

assess the claimant's residual functional capacity (RFC).                 The

claimant=s RFC is an assessment of the sustained, work-related

physical and mental activities the claimant can still do on a

regular and continuing basis despite his limitations.                20 C.F.R.

§ 404.1520(e).    See also Social Security Ruling (SSR) 96-8p.                  "A

'regular and continuing basis' means 8 hours a day, for 5 days a

week, or an equivalent schedule."         SSR 96-8p, at *1.         In other

words, the Social Security Act does not require complete



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incapacity to be disabled.       Taylor v. Comm'r of Soc. Sec.

Admin., 659 F.3d 1228, 1234-35 (9th Cir. 2011)(citing Fair v.

Bowen, 885 F.2d 597, 603 (9th Cir. 1989)).

     At Step Four the claimant is not disabled if the

Commissioner determines the claimant retains the RFC to perform

work he has done in the past.       20 C.F.R. § 404.1520(a)(4)(iv).

See also Keyser, 648 F.3d at 724.

     If the Commissioner reaches Step Five, he must determine

whether the claimant is able to do any other work that exists in

the national economy.    20 C.F.R. § 404.1520(a)(4)(v).            See also

Keyser, 648 F.3d at 724-25.       Here the burden shifts to the

Commissioner to show a significant number of jobs exist in the

national economy that the claimant can perform.              Lockwood v.

Comm'r Soc. Sec. Admin., 616 F.3d 1068, 1071 (9th Cir. 2010).

The Commissioner may satisfy this burden through the testimony

of a VE or by reference to the Medical-Vocational Guidelines (or

the grids) set forth in the regulations at 20 C.F.R. part 404,

subpart P, appendix 2.       If the Commissioner meets this burden,

the claimant is not disabled.       20 C.F.R. §§ 404.1520(g)(1).




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                               ALJ'S FINDINGS

       At Step One the ALJ found Plaintiff has not engaged in

substantial gainful activity from December 1, 2013, Plaintiff's

alleged disability onset date, through September 30, 2017, his

DLI.   Tr. 18.

       At Step Two the ALJ found Plaintiff has the severe

impairments of degenerative disc disease of the cervical spine,

obesity, and hypertension.       Tr. 18.

       At Step Three the ALJ concluded Plaintiff's medically

determinable impairments do not meet or medically equal one of

the listed impairments in 20 C.F.R. part 404, subpart P,

appendix 1.    Tr. 20.   The ALJ found Plaintiff has the RFC to

perform medium work with the following limitations:               cannot

climb ladders, ropes, or scaffolds; can only occasionally crawl

and reach overhead with both arms; and should avoid exposure to

unprotected heights.     Tr. 21.

       At Step Four the ALJ concluded Plaintiff is able to perform

his past relevant work as a flagger.         Tr. 24.

       The ALJ made an alternative finding at Step Five that

Plaintiff can perform other jobs that exist in the national

economy such as hand-packager, production-assembler,



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agricultural-produce sorter, and metal-furniture assembler.

Tr. 26.   Accordingly, the ALJ found Plaintiff was not disabled

from December 1, 2013, his alleged disability onset date,

through September 30, 2017, his DLI.        Tr. 26.



                               DISCUSSION

     Plaintiff contends the ALJ erred when he (1) failed at Step

Two to find Plaintiff's other impairments severe; (2) failed to

provide legally sufficient reasons for rejecting the medical

opinions of Raymond Baculi, M.D., Plaintiff's treating

physician, H. Ge, M.D., an examining physician, and state-agency

physicians Mary Ann Westfall, M.D., and Neal Berner, M.D.;

(3) failed to provide legally sufficient reasons for discounting

Plaintiff's subjective symptom testimony; (4) failed to provide

legally sufficient reasons for rejecting the lay-witness

testimony of Shannon Johnson, Plaintiff's fiancé; and (5) found

at Step Four that Plaintiff could perform his past relevant work

as a flagger and alternatively at Step Five that Plaintiff could

perform other work that exists in significant numbers in the

national economy.




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I.   The ALJ did not err at Step Two in his analysis of
     Plaintiff’s impairments.

     Plaintiff contends the ALJ erred at Step Two when he failed

to identify Plaintiff's degenerative disc disease with chronic

low-back and right-shoulder pain, diabetes, migraine headaches,

and depression as severe impairments.

     The Commissioner, in turn, contends the ALJ found Plaintiff

has other severe impairments, and, therefore, the ALJ ultimately

resolved Step Two in Plaintiff's favor.         Thus, according to the

Commissioner, any failure by the ALJ to find and to include as

severe the impairments that Plaintiff identifies does not

prejudice Plaintiff.     See Buck v. Berryhill, 869 F.3d 1040, 1049

(9th Cir. 2017).

     A.   Standards

          The inquiry for Step Two is a de minimis screening

device to dispose of groundless claims.         Bowen v. Yuckert, 482

U.S. 137, 153–54 (1987)(Step Two inquiry intended to identify

claimants whose medical impairments are so slight that it is

unlikely they would be found disabled).         See also Webb v.

Barnhart, 433 F.3d 683, 686 (9th Cir. 2005)(Step Two impairment

“may be found not severe only if the evidence establishes a

slight abnormality that has no more than a minimal effect on an


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individual's ability to work.”)(emphasis in original).

             The claimant bears the burden to provide medical

evidence to establish at Step Two that he has a severe

impairment.    20 C.F.R. § 404.1512.

             At Step Two the ALJ must consider the combined effect

of all the claimant's impairments on his ability to function

without regard to whether each impairment is sufficiently

severe.   Howard ex rel. Wolff v. Barnhart, 341 F.3d 1006, 1012

(9th Cir.2003).     See also Smolen v. Chater, 80 F.3d 1273, 1289–

90 (9th Cir.1996); 42 U.S.C. § 423(d)(2)(B); 20 C.F.R.

§ 416.923.

             If the ALJ determines a claimant is severely impaired

at Step Two, the ALJ continues with the sequential analysis and

considers all of the claimant's limitations.           SSR 96–9p,

available at 1996 WL 374184 (July 2, 1996).          Step Two is “merely

a threshold determination of whether the claimant is able to

perform his past work.”      Hoopai v. Astrue, 499 F.3d 1071, 1076

(9th Cir. 2007).    If an ALJ fails to consider limitations

imposed by an impairment at Step Two but considers them at a

later step in the sequential analysis, any error at Step Two is




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harmless.    Lewis v. Astrue, 498 F.3d 909, 911 (9th Cir. 2007).

See also Burch v. Barnhart, 400 F.3d 676, 682 (9th Cir. 2005).

     B.     Analysis

            As noted, at Step Two the ALJ found Plaintiff has the

severe impairments of degenerative disc disease of the cervical

spine, obesity, and hypertension.      Tr. 18.      Based on these

impairments, the ALJ assessed Plaintiff’s RFC as limited to

medium work with some exertional limitations.           Tr. 21.

            The ALJ concluded, however, Plaintiff's other

allegations of severe impairments are, in fact, only symptoms,

and the ALJ found there are not any medical signs or laboratory

findings to support the existence of these conditions.              Tr. 19.

"Although the regulations provide that the existence of a

medically determinable physical or mental impairment must be

established by medical evidence consisting of signs, symptoms,

and laboratory findings, the regulations further provide that

under no circumstances may the existence of an impairment be

established on the basis of symptoms alone."           Ukolov v.

Barnhart, 420 F.3d 1002, 1005 (9th Cir. 2005).

            Here although Dr. Ge diagnosed Plaintiff with

degenerative joint disease in his consultative examination, the



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ALJ found Dr. Ge's examination did not show any "x-rays, few

complaints, no neurological signs, no altered gait, no positive

straight leg raise, and no evidence of significant weakness in

the right shoulder."    Tr. 19.    Although Dr. Baculi indicated in

his report that Plaintiff has diabetic neuropathy, the ALJ noted

Plaintiff's medical records showed he had normal sensation.

Tr. 19, 327, 352.    In his application for benefits Plaintiff

also alleged his migraine headaches were a severe impairment.

The ALJ, however, found Plaintiff's medical records did not

indicate any complaints nor treatment for this condition.

Tr. 19, 335.   Accordingly, the ALJ concluded Plaintiff's other

alleged impairments resulted in no more than "de minimis

limitations" on his ability to perform work-related activities.

Tr. 20.

          In addition, the ALJ found all of Plaintiff's

allegations of severe impairments were not supported by the

record or Plaintiff's activities.      The ALJ, however, concluded

Plaintiff had severe impairments of degenerative disc disease of

the cervical spine, obesity, and hypertension.              The ALJ,

therefore, resolved Step Two in favor of Plaintiff, and the fact

that the ALJ did not find all of the impairments severe that



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were alleged by Plaintiff does not prejudice Plaintiff.               See

Buck v. Berryhill, 869 F.3d 1040, 1049 (9th Cir. 2017)(Step Two

is a threshold determination not meant to identify all

impairments, and a failure to identify all severe impairments is

harmless error).

             Accordingly, the Court concludes on this record that

the ALJ did not err at Step Two because he found Plaintiff has

the severe impairments of degenerative disc disease of the

cervical spine, obesity, and hypertension and the fact that he

did not find Plaintiff has other severe impairments was not

prejudicial.

II.   The ALJ properly discounted the opinions of Drs. Westfall,
      Berner, Ge, and Baculi.

      Plaintiff contends the ALJ erred when he failed to provide

legally sufficient reasons for rejecting the medical opinions of

Drs. Baculi, Ge, Westfall, and Berner.

      A.     Standards

             "In disability benefits cases . . . physicians may

render medical, clinical opinions, or they may render opinions

on the ultimate issue of disability - the claimant's ability to

perform work."     Garrison v. Colvin, 759 F.3d 995, 1012 (9th Cir.

2014).     "In conjunction with the relevant regulations, [courts]


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have . . . developed standards that guide [the] analysis of an

ALJ's weighing of medical evidence."        Ryan v. Comm'r of Soc.

Sec., 528 F.3d 1194, 1198 (9th Cir. 2008).

           "If a treating or examining doctor's opinion is

contradicted by another doctor's opinion, an ALJ may only reject

it by providing specific and legitimate reasons that are

supported by substantial evidence."        Id.   When contradicted, a

treating or examining physician's opinion is still owed

deference and will often be "entitled to the greatest

weight . . . even if it does not meet the test for controlling

weight."   Orn v. Astrue, 495 F.3d 625, 633 (9th Cir. 2007).                An

ALJ can satisfy the "substantial evidence" requirement by

"setting out a detailed and thorough summary of the facts and

conflicting clinical evidence, stating his interpretation

thereof, and making findings."      Reddick, 157 F.3d at 725.           "The

ALJ must do more than state conclusions.         He must set forth his

own interpretations and explain why they, rather than the

doctors', are correct."      Id. (citation omitted).

     B.    Analysis

           1.   Drs Westfall and Berner

           On October 27, 2015, Dr. Westfall, a state-agency



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reviewing physician, assessed Plaintiff with a light-exertional

RFC.   Tr. 63, 65-67.     She opined Plaintiff can occasionally lift

and/or carry 20 pounds; can frequently lift and/or carry 10

pounds; can stand and/or walk for six hours in an eight-hour

workday; can sit for six hours in an eight-hour work day; and is

limited in his ability to reach, handle, finger, or feel with

his right hand and arm.        Tr. 66.   On March 24, 2016, Dr. Berner,

another state-agency reviewing physician, agreed with

Dr. Westfall's assessment.        Tr. 79-80.

            The ALJ gave the opinions of Drs. Westfall and Berner

"partial weight" on the ground that their opinions are

inconsistent with the medical evidence and do not contain

objective findings to support the light exertion or manipulative

limitations stated.      Tr. 27.    For example, the ALJ noted in

April 2014 Plaintiff was seen in the Emergency Department for

wrist pain, but he had normal range of motion in his neck.

Tr. 315.    In October 2015 when Dr. Ge examined him, Plaintiff

transferred from a chair to the examination table without

difficulty; sat comfortably for at least 20 minutes; walked to

the examination room with normal gait; had reduced strength in

his right arm and hand, but his sensation, deep tendon reflexes,



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and rapid alternating movements with his hands were "within

normal limits"; and had mild tenderness in his neck, right

shoulder, and both knees, but his knees were stable.

Tr.   324-27.   In a November 2015 evaluation by a family nurse

practioner, Plaintiff's neck was tender but had full range of

motion.   Tr. 335.    In September 2016 Dr. Baculi noted Plaintiff

had decreased range of motion in his neck, but his "motor and

sensory" were grossly intact and his gait was normal.               Tr. 351-

52.

           On this record the Court concludes the ALJ did not err

when he discounted the opinions of Drs. Westfall and Berner

because the ALJ provided legally sufficient reasons supported by

substantial evidence in the record for doing so.

           2.    Dr. Ge

           On October 10, 2015, Dr. Ge performed a physical

evaluation of Plaintiff.      Tr. 323-28.     Dr. Ge opined Plaintiff

can occasionally lift/push 20 pounds; can frequently lift/push

10 pounds; can stand and walk for four hours; can sit for up to

six hours; can frequently reach overhead, reach forward, handle,

finger, and feel with his right arm; and does not have any

limitations with his left arm.       Tr. 327-28.



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           The ALJ gave Dr. Ge's opinion "little weight" on the

ground that his examination did not reflect the abnormalities

expected for a light exertional RFC.        Tr. 23.     As noted, when

Dr. Ge examined him, Plaintiff transferred from a chair to the

examination table without difficulty; sat comfortably for at

least 20 minutes; walked to the examination room with normal

gait; had reduced strength in his right arm and hand, but his

sensation, deep tendon reflexes, and rapid alternating movements

with his hands were within normal limits; and had mild

tenderness in his neck, right shoulder, and both knees, but his

knees were stable.    Tr.    324-27.

           The ALJ also pointed out the fact that Plaintiff was

seen at the Salem Hospital Emergency Department in April 2014

for wrist pain.   Tr. 314.     The records showed Plaintiff did not

have any neck or back pain, had normal range of motion in his

neck, and was negative for numbness.        Tr. 315.        In November 2015

Plaintiff was examined by Esther Brown, FNP, at the Salem

Clinic.   Tr. 333-36.   FNP Brown noted Plaintiff did not have any

dizziness, headaches, numbness or tingling, limb weakness,

difficulty walking, lumbar radicular symptoms, or cervical

radicular symptoms.     Tr. 335.



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           On this record the Court concludes the ALJ did not err

when he discounted the opinions of Dr. Ge because the ALJ

provided legally sufficient reasons supported by substantial

evidence in the record for doing so.

           3.   Dr. Baculi

           On April 5, 2018, Dr. Baculi, Plaintiff's treating

physician, provided a Medical Source Statement.             Tr. 357-59.

Dr. Baculi noted Plaintiff's conditions included cervical

spondylosis, diabetes, and diabetic neuropathy.             Tr. 357.

Dr. Baculi opined Plaintiff can occasionally lift/carry up to

ten pounds; can frequently lift/carry less than ten pounds; can

stand/walk for five minutes at one time; can stand/walk for two

hours in an eight-hour workday; can sit for 15 minutes at one

time; and can sit for four hours in an eight-hour workday.

Tr. 358.   He also opined Plaintiff has the limited ability to

push and/or pull in his upper and lower extremities; can

occasionally balance, reach overhead, reach to shoulder height,

handle, finger, and feel; and can never climb, stoop, bend,

kneel, crouch, or crawl.     Tr. 358.

           The ALJ gave "little weight" to Dr. Baculi's opinion

on the ground that his "restrictive" opinion is not supported by



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the medical records, including his own treatment notes.              Tr. 24.

For example, in November 2015 Plaintiff was examined by Esther

Brown, FNP, at the Salem Clinic.      Tr. 333-36.       FNP Brown noted

Plaintiff did not have any dizziness, headaches, numbness or

tingling, limb weakness, difficulty walking, lumbar radicular

symptoms, or cervical radicular symptoms.          Tr. 335.     Plaintiff

reported chronic neck pain, but an examination showed tenderness

to palpation with full range of motion.         Tr. 336.      In September

2016 Plaintiff was again seen by Dr. Baculi.           Tr. 351-52.

Although Plaintiff had decreased range of motion in his neck,

his "motor and sensory" were intact and his gait was normal.

Tr. 352.   Dr. Baculi diagnosed Plaintiff with "spondylosis of

the cervical region without myelopathy or radiculopathy" and

requested x-rays of Plaintiff's cervical spine.             Tr. 352.

            On this record the Court concludes the ALJ did not

err when he discounted the opinions of Dr. Baculi because the

ALJ provided legally sufficient reasons supported by substantial

evidence in the record for doing so.

     In summary, the Court concludes on this record that the ALJ

properly discounted the opinions of Drs. Westfall, Berner, Ge,

and Baculi and provided legally sufficient reasons supported by



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substantial evidence in the record for doing so.

III. The ALJ did not err when he discounted Plaintiff's
     testimony.

     Plaintiff contends the ALJ erred when he failed to provide

legally sufficient reasons for discounting Plaintiff's

subjective symptom testimony.

     A.   Standards

          The ALJ engages in a two-step analysis to determine

whether a claimant's testimony regarding subjective pain or

symptoms is credible.    "First, the ALJ must determine whether

the claimant has presented objective medical evidence of an

underlying impairment 'which could reasonably be expected to

produce the pain or other symptoms alleged.'"           Garrison v.

Colvin, 759 F.3d 995, 1014 (9th Cir. 2014)(quoting Lingenfelter

v. Astrue, 504 F.3d 1028, 1035-36 (9th Cir. 2007)).             The

claimant need not show her "impairment could reasonably be

expected to cause the severity of the symptom she has alleged;

she need only show that it could reasonably have caused some

degree of the symptom."      Garrison, 759 F.3d at 1014 (quoting

Smolen v. Chater, 80 F.3d 1273, 1282 (9th Cir. 1996)).                A

claimant is not required to produce "objective medical evidence

of the pain or fatigue itself, or the severity thereof."


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Garrison, 759 F.3d at 1014.

            If the claimant satisfies the first step of this

analysis and there is not any affirmative evidence of

malingering, "the ALJ can reject the claimant's testimony about

the severity of her symptoms only by offering specific, clear

and convincing reasons for doing so."        Garrison, 759 F.3d at

1014-15.    See also Robbins v. Soc. Sec. Admin., 466 F.3d 880,

883 (9th Cir. 2006)(same).      General assertions that the

claimant's testimony is not credible are insufficient.              Parra v.

Astrue, 481 F.3d 742, 750 (9th Cir. 2007).          The ALJ must

identify "what testimony is not credible and what evidence

undermines the claimant's complaints."         Id. (quoting Lester v.

Chater, 81 F.3d 821, 834 (9th Cir. 1995)).

     B.     Analysis

            Plaintiff testified at the hearing before the ALJ that

he has neuropathy in his hands and feet and has a hard time

standing on his feet for any significant amount of time.

Tr. 22.    Plaintiff stated he has neck pain "all the time and his

back pain is worse."    Tr. 22.    Plaintiff testified he lies down

a lot because of his feet; he goes to the store, but he has a

hard time walking through the store; and he can stand on his



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feet for 20-to-30 minutes.      Tr. 22.

           The ALJ discounted Plaintiff's subjective symptom

testimony on the grounds that Plaintiff's allegations are

inconsistent with the medical records and with Plaintiff's

activities of daily living.      Tr. 22.    For example, the ALJ noted

there is not any evidence in the medical records of Plaintiff

complaining to his doctors regarding neuropathy in his hands and

feet that affect his ability to stand or to walk.             Tr. 22.

Although Plaintiff claimed disability beginning December 1,

2013, he did not seek any treatment from 2007 through 2014.

Tr. 22.   In April 2014 Plaintiff went to the emergency

department for a wrist injury, but he denied any neck pain, back

pain, or numbness.    Tr. 22, 315.

           The ALJ also found Plaintiff's "high-functioning"

activities of daily living do not support his symptom testimony.

Tr. 22.   For example, Plaintiff helps with light housework such

as doing dishes and taking out the garbage, he can prepare

meals, he shops, he was able to drive before losing his license,

he rides his bike twice a week, he cares for himself

independently, and he is able to handle his finances.              Tr. 22-

23, 236-38, 324.



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             On this record the Court concludes the ALJ did not err

when he discounted Plaintiff's subjective symptom testimony

because the ALJ provided legally sufficient reasons supported by

substantial evidence in the record for doing so.

IV.   The ALJ did not err when he discounted the lay-witness
      testimony of Shannon Johnson, Plaintiff's fiancé.

      Plaintiff contends the ALJ erred when he failed to provide

legally sufficient reasons for rejecting the lay-witness

testimony of Shannon Johnson, Plaintiff's fiancé.

      A.     Standards

             Lay-witness testimony regarding a claimant's symptoms

is competent evidence that the ALJ must consider unless he

"expressly determines to disregard such testimony and gives

reasons germane to each witness for doing so."               Lewis v. Apfel,

236 F.3d 503, 511 (9th Cir. 2001).          The ALJ's reasons for

rejecting lay-witness testimony must also be "specific."                Stout

v. Comm'r, Soc. Sec. Admin., 454 F.3d 1050, 1054 (9th Cir.

2006).     Germane reasons for discrediting a lay-witness's

testimony include inconsistency with the medical evidence and

the fact that the testimony "generally repeat[s]" the properly

discredited testimony of a claimant.          Bayliss v. Barnhart, 427

F.3d 1211, 1218 (9th Cir. 2005).       See also Williams v. Astrue,


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493 F. App'x 866 (9th Cir. 2012).

       B.   Analysis

            On December 18, 2015, Shannon Johnson, Plaintiff's

fiancé, provided a Third-Party Function Report.               Tr. 226-33.

Johnson stated Plaintiff wakes up daily in a lot of pain; does

not get out of bed "too often"; can only lift 15 pounds; cannot

stand more than ten minutes; can only walk two to three blocks;

and has problems squatting, bending, reaching, sitting,

kneeling, climbing stairs, and completing tasks.              Tr. 226-29,

231.   Johnson noted Plaintiff "doesn't deal with crowds well,"

but he is able to go to the store alone and to use public

transportation.     Tr. 228-29.     She also noted Plaintiff can

handle money and is able to follow instructions "just fine."

Tr. 229, 231.

            The ALJ noted Johnson lived with Plaintiff at the time

of her report, and, therefore, she was thoroughly familiar with

his functioning.     Tr. 24.     The ALJ, however, gave Johnson's

statement "little weight" on the grounds that there was not any

evidence in the record to support her statements and that

Johnson contradicted herself when she stated Plaintiff could not




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deal with crowds but was able to use public transportation and

go to the store alone.       Tr. 24.

           Johnson's statements are consistent with Plaintiff's

testimony regarding his symptoms.       As noted, the Court has

concluded the ALJ provided legally sufficient reasons supported

by substantial evidence in the record for discounting

Plaintiff's testimony.       For the same reasons, the Court

concludes on this record that the ALJ did not err when he

discounted the lay-witness testimony of Plaintiff's fiancé

because the ALJ provided germane reasons for doing so.

V.   The ALJ did not err at Step Four or Step Five.

     Plaintiff contends the ALJ erred at Step Four when he found

Plaintiff could perform his past relevant work or, in the

alternative, at Step Five when he found Plaintiff could perform

other work that exists in significant numbers in the national

economy.   Plaintiff specifically contends the ALJ provided an

incomplete hypothetical to the VE that did not include all of

Plaintiff's limitations.

     A.    Standards

           At Step Four the claimant is not disabled if the




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Commissioner determines the claimant retains the RFC to perform

work he has done in the past.          20 C.F.R. § 404.1520(a)(4)(iv).

See also Keyser, 648 F.3d at 724.          The burden falls on the

claimant to establish that he cannot perform his past relevant

work.    Pinto v. Massanari, 249 F.3d 840, 844 (9th Cir. 2001).

        If the claimant is unable to perform his past relevant

work, the Commissioner must determine at Step Five whether the

claimant is able to do any other work that exists in the

national economy.       20 C.F.R. § 404.1520(a)(4)(v).            See also

Keyser, 648 F.3d at 724-25.          Here the burden shifts to the

Commissioner to show a significant number of jobs exist in the

national economy that the claimant can perform.                 Lockwood v.

Comm'r Soc. Sec. Admin., 616 F.3d 1068, 1071 (9th Cir. 2010).

The Commissioner may satisfy this burden through the testimony

of a VE or by reference to the Medical-Vocational Guidelines (or

the grids) set forth in the regulations at 20 C.F.R. part 404,

subpart P, appendix 2.          If the Commissioner meets this burden,

the claimant is not disabled.          20 C.F.R. §§ 404.1520(g)(1).

        B.   Analysis

             The ALJ determined Plaintiff has the RFC to perform




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medium work and concluded Plaintiff could perform his past

relevant work as a flagger.       Tr. 24-25.     The ALJ also made an

alternative finding at Step Five and, based on Plaintiff's age,

education, work experience, and RFC, identified other jobs that

existed in significant numbers in the national economy that

Plaintiff could perform such as hand-packager, production

assembler, agricultural-produce sorter, and metal-furniture

assembler.    Tr. 25-26.     The ALJ's determination was based on the

testimony of the VE.    Tr. 25, 54.     Accordingly, the ALJ

concluded Plaintiff was not disabled.         Tr. 26.

             Plaintiff, however, contends the ALJ failed to include

in his hypothetical to the VE all of Plaintiff's limitations

supported by the medical evidence, his subjective symptom

testimony, and the lay-witness testimony.           As noted, the Court

has determined the ALJ properly evaluated the medical evidence,

provided legally sufficient reasons for discounting Plaintiff's

subjective complaints about his symptoms, and provided germane

reasons for discounting the lay-witness testimony of Plaintiff's

fiancé.

             Accordingly, the Court concludes the ALJ did not err

at Step Four or Step Five when he did not include limitations



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based on such testimony in his hypothetical posed to the VE.



                               CONCLUSION

     For these reasons, the Court AFFIRMS the decision of the

Commissioner and DISMISSES this matter.
     IT IS SO ORDERED.

     DATED this 19th day of October, 2020.


                                  /s/ Anna J. Brown

                             ______________________________________
                             ANNA J. BROWN
                             United States Senior District Judge




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